










Opinion issued November 6, 2008











In The
Court of Appeals
For The
First District of Texas




NO. 01-08-00438-CV




VERONICA JOYCE FORD,  Appellant

V.

KIRK CARTER, JR.,  Appellee




On Appeal from the 245th District Court 
Harris County, Texas
Trial Court Cause No. 2007-26457




MEMORANDUM OPINIONAppellant Veronica Joyce  Ford has neither established indigence, nor paid all
the required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases
unless indigent), 20.1 (listing requirements for establishing indigence); see also Tex.
Gov’t Code Ann. §§ 51.207 (Vernon 2005), 51.208 (Vernon Supp. 2008); 51.941(a)
(Vernon 2005), 101.041 (Vernon Supp. 2008) (listing fees in court of appeals); Fees
Civ. Cases B(1), (3) (listing fees in court of appeals).  After being notified that this
appeal was subject to dismissal, appellant Veronica Joyce  Ford did not adequately
respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing
involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We dismiss the appeal for nonpayment of all required fees.  We deny all
pending motions.
PER CURIAM
Panel consists of Justices Taft, Keyes, and Alcala.


